           Case 4:05-cr-00330-JLH Document 93 Filed 02/05/14 Page 1 of 1
                                                                                     FILED
                                                                                   U.S. DISTRICT COURT
                                                                               EASTERN DISTRICT ARKANSAS


                                                                                  FEB 05 2014
                       IN THE UNITED STATES DISTRICT COUR.mM~~~CK
                           EASTERN DISTRICT OF ARKANSAS By:_~~........,.~~"'"'-~~=-=-:~~
                                WESTERN DIVISION                               DEP CLE K


UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                    NO. 4:05CR00330-01 JLH

BRIAN MONQUEZ MCMILLER                                                             DEFENDANT

                         .JUDGMENT and COMMITMENT ORDER

        Court convened on Wednesday, February 5, 2014, for the scheduled hearing on the

government's motion to revoke supervised release of defendant Brian Monquez McMiller. Assistant

United States Attorney Edward 0. Walker was present for the government. The defendant appeared

in person with his attorney, Mr. Patrick J. Benca.

       Upon inquiry from the Court, the defendant admitted the violation concerning the Prairie

County incident on August 5, 2013. No proof was offered concerning the Pulaski County incident.

Accordingly, the Court finds that the violation concerning the Prairie County incident admitted by

defendant occurred, and the motion to revoke is GRANTED. Document #80.

       IT IS THEREFORE ORDERED that defendant be sentenced to 42 MONTHS

IMPRISONMENT, with no term of supervised release to follow. The Court recommends

defendant participate in residential substance abuse treatment during incarceration. The Court

further recommends defendant be placed in the FCI Forrest City, Arkansas, facility so as to remain

near his family.

       IT IS SO ORDERED this        ~ day of February, 2014.
